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                           UNITED STATES DISTRICT COURT

                           MIDDLE DISTRICT OF LOUISIANA


JOHNSON                                                              CIVIL ACTION


VERSUS                                                               20-414-SDD-RLB


ST. HELENA SCHOOL
DISTRICT


                                          RULING

        The Court, after carefully considering the Complaint,1 the record, the law

applicable to this action, and the Report and Recommendations2 of United States

Magistrate Judge Richard L. Bourgeois, Jr., dated September 22, 2020, to which no

objection has been filed, hereby approves the Report and Recommendations of the

Magistrate Judge and adopts it as the Court’s opinion herein.

        ACCORDINGLY, the Plaintiff’s Complaint3 is hereby DISMISSED without

prejudice for lack of subject matter jurisdiction.

        IT IS FURTHER ORDERED that Plaintiff’s Motions to Proceed in forma pauperis4

are hereby DENIED as moot.
                                                     20th
        Signed in Baton Rouge, Louisiana the 19th ^day of October, 2020.



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                                       CHIEF JUDGE SHELLY D. DICK
                                       UNITED STATES DISTRICT COURT
                                       MIDDLE DISTRICT OF LOUISIANA
1
  Rec. Doc. 1.
2
  Rec. Doc. 7.
3
  Rec. Doc. 1.
4
  Rec. Docs. 2 and 4.
